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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA



JOHN DOE                                               CIVIL ACTION

VERSUS                                                 NO. 19-13425-WBV-JCW

THE ADMINISTRATORS OF THE TULANE
EDUCATIONAL FUND                                       SECTION D(2)



                                         ORDER


           Before the Court is the Motion for Appeal/Review of Magistrate Judge Decision

(R. Doc. 32), filed by the Defendant, the Administrators of the Tulane Educational

Fund.


           In its Objections to Taking Depositions1, Defendant requests the Court to (1)

prohibit plaintiff from deposing non-party Tulane students [except for Jane Roe];

(2) limit the scope of plaintiff’s questioning of Jane Roe; and (3) limit the scope of all

deposition questioning.        Defendant requests the Court to “Provide reasonable

limitations on the depositions of Complainant Jane Roe consistent with decisional

authorities . . . including relevant scope and tone of questioning regarding Title IX

erroneous outcome and breach of contract claims at issue for the preliminary



1
    R. Doc. 22.
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injunction hearing.”2 Plaintiff opposed the Objections, asserting that he is suing

Tulane under Title IX


        for erroneous outcome and for contract breach, both on the theory that
        Defendant’s investigation was so flawed that John Doe was denied a fair
        and neutral process. It is the investigation itself that Plaintiff seeks to
        explore, and no single witness to the process possessed more information
        about it, and can shed more light on the erroneous credibility findings
        on which the investigator relied, than Jane Roe.

R. Doc. 24, p. 8. Plaintiff further states “An unfettered deposition of Jane Roe is the

only way for Doe to determine whether Tulane performed a fair, impartial, and

complete investigation, and Tulane should not be allowed [to] frustrate that effort by

unnecessarily limiting discovery.”3 Plaintiff further requested to exceed by a single

deposition the 10-deposition limit set in Fed. R. Civ. Proc. 30(a)(2)(A)(i).


         The Magistrate Judge evaluated Defendant’s request to limit the scope of

questioning in any deposition as a request for a protective order pursuant to

Fed. R. Civ. Proc. 26(c)(1) and analyzed whether Defendant had shown “good

cause” to support the issuance of a protective order.4 The Magistrate Judge found

that the Defendant failed to sustain its burden to show good cause. The Magistrate

Judge granted Plaintiff’s request to take eleven depositions.


        The Court notes that United States Magistrate Judge Joseph C. Wilkinson,

Jr.’s Order (R. Doc. 25) notes the important issues at stake in this matter, including

the current and future academic status and aspirations of the plaintiff. The Court is


2 R. Doc. 22, p. 1.
3 R. Doc. 24, pp. 8-9.
4
  R. Doc. 25.
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also mindful of the important and sensitive nature of the complaint by Jane Roe, as

it would be with any person alleging sexual assault.


          The Court further notes that it is not ruling, nor has it been asked to rule, on

the admissibility of evidence in trial. Rather, the issue before the Court is an appeal

of a Magistrate Judge’s Order regarding whether to limit discovery [of potential

evidence] in the form of a deposition.             The Magistrate Judge correctly notes in his

Order that discovery depositions are designed to proceed pursuant to Federal Rule

Civil Procedure 30(c)(2), which provides: “An objection at the time of the

examination—whether to evidence . . . or to any other aspect of the deposition—must

be noted on the record, but the examination still proceeds; the testimony is subject to

the objection.”5 Judge Wilkinson further correctly recites the purpose of discovery,

for “ascertaining the facts, or information as to the existence or whereabout of facts,

relative to [the] issues . . . . before trial.”6


          The Court finds that Magistrate Judge Wilkinson’s ruling is not clearly

erroneous or contrary to law; rather, it is well-reasoned and supported by Fifth

Circuit jurisprudence. The Court has no doubt that counsel will conduct themselves

with the same sensitivity and professionalism in any depositions allowed in this

matter that they have shown in court during these proceedings.




5   R. Doc. 25, p. 2.
6   R. Doc. 25, p. 9, citing Hickman v. Taylor, 329 U.S. 495, 500 (1947).
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      IT IS HEREBY ORDERED that the Motion for Appeal/Review of Magistrate

Judge Decision (R. Doc. 32) is DENIED.


      New Orleans, Louisiana, this the 19th day of December, 2019.




                                     ______________________________________
                                     WENDY B. VITTER
                                     UNITED STATES DISTRICT JUDGE
